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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                      TEXARKANA DIVISION




 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §            CASE NO. 5:12CR2
                                                  §
 THERESA NICOLE THOMLIN                           §



                                 ORDER ADOPTING
                         THE REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE



         The above-styled matter was referred to the Honorable Barry Bryant, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Bryant conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued his Report and Recommendation (document #41) on May 25,

 2012. Judge Bryant recommended that the Court accept Defendant’s guilty plea and conditionally

 approve the plea agreement. He further recommended that the Court finally adjudge Defendant as

 guilty of Count 1 of the Indictment filed against Defendant in this cause.

         The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

 Report and Recommendation of the United States Magistrate Judge (document #41) is ADOPTED.

 It is further

         ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

 It is finally
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        ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

  GUILTY of Count 1 of the Indictment in the above-numbered cause and enters a JUDGMENT

  OF GUILTY against the Defendant as to Count 1 of the Indictment.

         It is SO ORDERED.


  SIGNED this 19th day of June, 2012.




                                                ____________________________________
                                                MICHAEL H. SCHNEIDER
                                                UNITED STATES DISTRICT JUDGE




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